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The defendant shall comply with General Order No. 18-10.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is
unable to pay and is not likely to become able to pay any fine.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 3 years under the
following terms and conditions:

          1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
             Office and General Order 18-10, including the conditions of probation and supervised release set forth in
             Section III of General Order 18-10.

          2. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to
             one drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to
             exceed eight tests per month, as directed by the Probation Officer.

          3. During the period of community supervision, the defendant shall pay the special assessment and restitution
             in accordance with this judgment's orders pertaining to such payment.

          4. The defendant shall truthfully and timely file and pay taxes owed for the years of conviction, and shall
             truthfully and timely file and pay taxes during the period of community supervision. Further, the defendant
             shall cooperate with the IRS and comply with the Court’s restitution order and show proof to the Probation
             Officer of compliance with this order.

          5. The defendant shall cooperate in the collection of a DNA sample from the defendant.


The Court advises the defendant of his right to appeal.

The Court recommends to the Bureau of Prisons that the defendant be designated to a facility in Southern California.

Government’s motion to dismiss Count 1 of the Indictment is granted.




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In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




           February 4, 2020
           Date                                                         S. James Otero, U. S. District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                        Clerk, U.S. District Court




           February 4, 2020                                      By     /s/ V.R. Vallery
           Filed Date                                                   Deputy Clerk



The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                              STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                              While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant must not commit another federal, state, or local              9.     The defendant must not knowingly associate with any persons
     crime;                                                                             engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal                   any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a                  by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                         family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                       review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by                 protection of the community or rehabilitation;
     the court or probation officer;                                             10.    The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district                       not purchase, possess, use, distribute, or administer any narcotic or
     without first receiving the permission of the court or probation                   other controlled substance, or any paraphernalia related to such
     officer;                                                                           substances, except as prescribed by a physician;
5.   The defendant must answer truthfully the inquiries of the probation         11.    The defendant must notify the probation officer within 72 hours of
     officer, unless legitimately asserting his or her Fifth Amendment                  being arrested or questioned by a law enforcement officer;
     right against self-incrimination as to new criminal conduct;                12.    For felony cases, the defendant must not possess a firearm,
6.   The defendant must reside at a location approved by the probation                  ammunition, destructive device, or any other dangerous weapon;
     officer and must notify the probation officer at least 10 days before       13.    The defendant must not act or enter into any agreement with a law
     any anticipated change or within 72 hours of an unanticipated                      enforcement agency to act as an informant or source without the
     change in residence or persons living in defendant’s residence;                    permission of the court;
7.   The defendant must permit the probation officer to contact him or           14.    As directed by the probation officer, the defendant must notify
     her at any time at home or elsewhere and must permit confiscation                  specific persons and organizations of specific risks posed by the
     of any contraband prohibited by law or the terms of supervision                    defendant to those persons and organizations and must permit the
     and observed in plain view by the probation officer;                               probation officer to confirm the defendant’s compliance with such
8.   The defendant must work at a lawful occupation unless excused by                   requirement and to make such notifications;
     the probation officer for schooling, training, or other acceptable          15.    The defendant must follow the instructions of the probation officer
     reasons and must notify the probation officer at least ten days                    to implement the orders of the court, afford adequate deterrence
     before any change in employment or within 72 hours of an                           from criminal conduct, protect the public from further crimes of the
     unanticipated change;                                                              defendant; and provide the defendant with needed educational or
                                                                                        vocational training, medical care, or other correctional treatment in
                                                                                        the most effective manner.




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 √ The defendant must also comply with the following special conditions (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be
subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
applicable for offenses completed before April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18
U.S.C. § 3563(a)(7).

          Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

          CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

         As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, must be disclosed to the Probation Officer upon request.

        The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal




                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date




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